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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
NEW ORLEANS DIVISION

IN RE: FEMA TRAILER MDL NO. 1873

FORMALDEHYDE PRODUCTS
LIABILITY LITIGATION

THIS DOCUMENT PERTAINS TO
Civil Action No. 09-7827

Gussie Crawford, et. al.

Vs.

Frontier RV, Inc., et al.

SECTION “N” (5)

JUDGE ENGELHARDT
MAGISTRATE CHASEZ

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SUPPLEMENTAL EXHIBIT “A” TO PLAINTIFFS’ AMENDED COMPLAINT
PURSUANT TO PRETRIAL ORDER NO. 53

In compliance with Pretrial Order 53 (Rec. Doc. 9073), Plaintiffs hereby file their
Supplemental Exhibit “A” to their Amended Complaint to match the Plaintiffs to their correct
Contractor/Installer Defendants.

In addition to the information previously submitted on Exhibit “A”, Plaintiffs attach
hereto a Supplemental Exhibit “A” and incorporate same by reference herein.

Respectfully submitted,

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Exhibit A a
Ada Hodges (209741)

Debra Swain (202811)

Debra Swain, as Next Friend of T.s, a minor
(202812)

Kimberly Morgan, as Next Friend of T.O, a minor
(210245)

